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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                   PIKEVILLE


 UNITED STATES OF AMERICA,                                CRIMINAL NO. 7:19-20-KKC
       Plaintiff,

 V.                                                                   ORDER

 JOHNNY E. VARNEY,
       Defendant.



                                          *** *** ***
       This matter was referred to the magistrate judge for the purposes of conducting

rearraignment proceedings for the above defendant. The magistrate judge has filed a

recommendation that the Court accept the defendant's guilty plea and that the defendant

be adjudged guilty of Count 1 of the indictment. No objections have been filed and, having

reviewed the record, the Court finds that the magistrate judge satisfied all requirements of

Federal Rule of Criminal Procedure 11 and the United States Constitution. Accordingly, the

Court hereby adopts the magistrate judge’s recommendation and accepts the defendant's

plea of guilty and enters a finding of guilty for this defendant as to Count 1 of the

indictment.


              Dated January 17, 2020




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